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                                                                                                                                             Zoning and Land Use

                                                                                                                                             Tax Lots

                                                                                                                                             Zoning Districts

                                                                                                                                              Commercial Districts

                                                                                                                                              Manufacturing Districts

                                                                                                                                              Residence Districts

                                                                                                                                              Parks

                                                                                                                                              Battery Park City

                                                                                                                                             Commercial Overlays

                                                                                                                                              C1-1 through C1-5

                                                                                                                                              C2-1 through C2-5



                                                                                                                                             Basemaps

                                                                                                                                             Subways

                                                                                                                                             Building Footprints




  100 ft




INDIVIDUAL LANDMARK                                                                                     Add Another Tax Lot for Comparison

2211 BROADWAY, 10024
                                                                                                  TAX LOT | BBL 1011707502
Manhattan (Borough 1) | Block 1170 | Lot 7502




Zoning Districts:                R10A           C4-6A            EC-3



INTERSECTING MAP LAYERS                  :               Owner                    Show Owner
  Historic District West End-Collegiate Historic District Extension
                                                             Land Use             Mixed Residential & Commercial Buildings
                                                         Lot Area                 50,525 sq ft
ZONING DETAILS:                                          Lot Frontage             204.33 ft
  Digital Tax Map                                        Lot Depth                248.33 ft
  Zoning Map: 5d (PDF)                                   Year Built               1908
  Historical Zoning Maps (PDF)                           Building Class           Condominiums - Mixed Residential & Commercial
                                                                                  Building (Mixed Residential & Commercial) ( RM )
                                                         Number of Buildings      1
                                                         Number of Floors         12
                                                         Gross Floor Area         423,311 sq ft
                                                         Total # of Units         160
                                                         Residential Units        153
                                                         Condominium Number       2128
                                                         Building Info                 BISWEB
                                                         Property Records              View ACRIS
                                                         Housing Info               View HPD's Building, Registration & Violation
                                                                                  Records
                                                         Community District            Manhattan Community District 7
                                                         City Council District         Council District 6
                                                         School District          03
                                                         Police Precinct          20
                                                         Fire Company            L025
                                                            Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                                         Sanitation Borough      1
                                                                                                                                                                        Privacy - Terms
                                                         Sanitation District      07
